50 F.3d 6
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Glen Roy KENDALL, Plaintiff-Appellant,v.R. A. YOUNG, Regional Administrator;  Rufus Flaming, Warden;Keith W. Davis;  Jim Barton;  Sergeant Pinckney;C. Bland, Defendants-Appellees.
    No. 94-7079.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  January 19, 1995.Decided:  March 23, 1995.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  J. Calvitt Clarke, Jr., Senior District Judge.  (CA-94-662-2)
      Before WILKINS and MICHAEL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 42 U.S.C. Sec. 1983 (1988) complaint.  The district court assessed a filing fee in accordance with Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Appellant failed to comply with the fee order.  Finding no abuse of discretion, we deny leave to proceed in forma pauperis and dismiss the appeal.*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         We also deny Appellant's motion for a temporary restraining order and/or a preliminary injunction
      
    
    